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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF GEORGIA
                                  AUGUSTA DIVISION




IN RE:                                          Case Nos.   CR114-121, USA v. Johnson
                                                            CR115-084, USAv. Samuels
LEAVE OF ABSENCE REQUEST                                    CR115-106, USAv. Roberson
                                                            CR115-100, USAv. Roberts
KENNETH D. CROWDER
March 2 through 4,2016




                                           ORDER

         Kenneth D. Crowder having made application to the Court for a leave of absence, and

it being evident from the application that the provisions of Local Rule 83.9 have been complied

with, and no objections having been received;

         IT IS HEREBY ORDERED THAT Kenneth D. Crowder be granted leave of absence

for the following periods: March 2,2016 through March 4,2016.

         This Rt^faj&^jfe&Wwi ^2016.



                                            HONORABLE J. RANDAL HALL
                                            United States District Judge
                                            Soutijern District of Georgia
